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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

TROUT POINT LODGE, LIMITED,
a Nova Scotia Limited Company,
VAUGHN PERRET, and CHARLES LEARY                                      PLAINTIFFS

v.                                                 CAUSE NO. 1:12CV90-LG-JMR

DOUG K. HANDSHOE                                                     DEFENDANT

                      SUPPLEMENTAL ORDER GRANTING
                          MOTION FOR SANCTIONS

      THIS MATTER came before the Court for consideration of sanctions against

the individual plaintiffs, Vaughn Perret and Charles Leary, at a show cause hearing

conducted on this date. The procedural history of this case set out in the Court’s

original Order Granting In Part And Denying In Part Motion For Sanctions, ECF

No. 97, is incorporated herein. Counsel for the defendant was present at the

hearing and argued for sanctions against Perret and Leary. The Court finds that

notice of the hearing was provided to Perret and Leary, but neither appeared as

ordered. (See Order, ECF No. 89). Accordingly, Perret and Leary are in contempt

of Court. Sanctions against Perret and Leary shall be imposed in the same amount

and for the same reasons as those imposed against Trout Point Lodge, Ltd., in the

Court’s Order Granting In Part And Denying In Part Motion For Sanctions (ECF

No. 97) as follows.

      An appropriate sanction for Perret and Leary’s civil contempt is a per diem

fine of $100 each, effective immediately and remaining effective until the Court’s
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Orders are complied with.1 The Court is also of the opinion that Perret and Leary

must pay reasonable expenses and attorney’s fees to Handshoe for the expenses and

fees Handshoe has incurred in attempting to obtain judgment debtor discovery from

them.

        IT IS THEREFORE ORDERED AND ADJUDGED that the Court’s [97]

Order Granting In Part And Denying In Part Motion For Sanctions, is hereby

SUPPLEMENTED to order Vaughn Perret and Charles Leary, severally, to pay

$100/day to Handshoe, until such time as Vaughn Perret and/or Charles Leary

purge themselves of contempt by complying with the Court’s Orders. Plaintiffs

Vaughn Perret and Charles Leary are also ordered to pay Handshoe his reasonable

expenses and attorney’s fees in an amount to be determined by the Court.

        IT IS FURTHER ORDERED AND ADJUDGED that Defendant Handshoe

should submit proof of his expenses and attorney’s fees to the Court within fourteen

(14) days of this Order so that the Court may determine the appropriate amount to

be paid by the plaintiffs. Defendant Handshoe should submit such proof via an

Amended Motion for Sanctions limited solely to this issue.

        SO ORDERED AND ADJUDGED this the 26th day of October, 2017.


                                      s\   Louis Guirola, Jr.
                                      Louis Guirola, Jr.
                                      Chief U.S. District Judge


        1
        Perret and/or Leary can do so by contacting Handshoe’s counsel to arrange a
time to submit to a judgment debtor examination or, alternatively, by satisfying the
judgment against it, including any amounts incurred as discussed herein.

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